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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------)(
 LOREDANA TOMICI

                   v                                                   ORDER
                                                                      CVll-2173

 NEW YORK CITY DEPARTMENT OF
 EDUCATION
 ------------------------------------------------)(
 Jack B. Weinstein, Senior United States District Judge


               Plaintiff's prose letter motion to seal document number 48 on the court's docket

 sheet is granted. The Clerk of Court is requested to seal the document.




                                                        ACK B. WEINSTEIN
                                                       SR. UNITED STATES DISTRICT JUDGE


 Dated: 3/6/14
